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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1731V
                                          UNPUBLISHED


    BOBBY TATE,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: May 7, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jerome A. Konkel, Samster Konkel and Safran, Wauwatosa, WI,, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On November 7, 2019, Bobby Tate filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Table injury – Shoulder Injury Related
to Vaccine Administration (“SIRVA”) – as a result of his November 5, 2018 influneza (“flu”)
vaccination. Petition at 3, 6. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On April 22, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On May 5, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $52,500.00. Proffer at
1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $52,500.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


    BOBBY TATE,                   )
                                  )
              Petitioner,         )
    v.                            )                    No. 19-1731V
                                  )                    Chief Special Master Corcoran
    SECRETARY OF HEALTH AND HUMAN )                    ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

    I.    Items of Compensation

          On April 19, 2021, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. The Chief Special Master issued a Ruling on

Entitlement on April 22, 2021, finding that petitioner was entitled to vaccine compensation for

his left-sided shoulder injury related to vaccine administration (“SIRVA”). Based upon the

evidence of record, respondent proffers that petitioner should be awarded $52,500.00. This

amount represents all elements of compensation to which petitioner would be entitled under 42

U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $52,500.00, in the form of a check payable to petitioner. 1 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case


1
 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                          Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          HEATHER L. PEARLMAN
                                          Acting Deputy Director
                                          Torts Branch, Civil Division

                                          DARRYL R. WISHARD
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          s/Traci R. Patton
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Dated: May 5, 2021




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